     Case 4:14-cv-05002-SMJ      ECF No. 361   filed 10/21/20   PageID.8550 Page 1 of 3
                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON



1                                                                    Oct 21, 2020
                                                                         SEAN F. MCAVOY, CLERK

2

3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA ex                No. 4:14-cv-05002-SMJ
5    rel. SALINA SAVAGE, qui tam as
     Relator; and SAVAGE LOGISTICS
6    LLC, qui tam as Relator,                   ORDER GRANTING
                                                STIPULATED MOTION TO
7                              Plaintiffs,      DISMISS DEFENDANTS INDIAN
                                                EYES, LLC AND ROXIE
8                 v.                            SCHESCKE UNDER FED. R. CIV.
                                                P. 41(a)(2)
9    CH2M HILL PLATEAU
     REMEDIATION COMPANY;
10   PHOENIX ENTERPRISES
     NORTHWEST LLC (PENW);
11   PHOENIX-ABC A JOINT VENTURE;
     ACQUISITION BUSINESS
12   CONSULTANTS; JONETTA
     EVERANO; JESSICA MORALES;
13   DOES I–IX; INDIAN EYES LLC; and
     ROXIE SCHESCKE,
14
                               Defendants.
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17         On October 16, 2020, Plaintiffs Salina Savage and Savage Logistics, LLC

18   and Defendants Indian Eyes, LLC and Roxie Schescke filed a Stipulated Motion to

19   Dismiss, ECF No. 355. Under 31 U.S.C. § 3730(b)(1), the United States’ consent is

20   required before dismissal of the action. The United States consents to the dismissal

     ORDER GRANTING STIPULATED MOTION TO DISMISS DEFENDANTS
     INDIAN EYES, LLC AND ROXIE SCHESCKE UNDER FED. R. CIV. P.
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      Case 4:14-cv-05002-SMJ    ECF No. 361    filed 10/21/20   PageID.8551 Page 2 of 3




1    of Indian Eyes, LLC and Roxie Schescke from the action as long as dismissal is

2    without prejudice to the United States. ECF No. 356.

3          Consistent with their agreement and Federal Rule of Civil Procedure 41(a),

4    IT IS HEREBY ORDERED:

5          1.    Plaintiffs Salina Savage and Savage Logistics, LLC and Defendants

6                Indian Eyes, LLC and Roxie Schescke’s Stipulated Motion to

7                Dismiss, ECF No. 355, is GRANTED.

8          2.    All claims brought against Indian Eyes, LLC and Roxie Schescke in

9                the above-captioned are hereby DISMISSED WITH PREJUDICE

10               as to Relator/Plaintiffs and DISMISSED WITHOUT PREJUDICE

11               as to the United States, without an award of costs or fees to any party.

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     ORDER GRANTING STIPULATED MOTION TO DISMISS DEFENDANTS
     INDIAN EYES, LLC AND ROXIE SCHESCKE UNDER FED. R. CIV. P.
     41(a)(2) – 2
     Case 4:14-cv-05002-SMJ      ECF No. 361        filed 10/21/20   PageID.8552 Page 3 of 3




1          3.     The Clerk’s Office is directed to AMEND the caption as follows:

2                 UNITED STATES OF AMERICA ex rel. SALINA SAVAGE, qui
                  tam as Relator; and SAVAGE LOGISTICS LLC, qui tam as
3                 Relator,

4                                     Plaintiffs,

5                              v.

6                 CH2M HILL PLATEAU REMEDIATION COMPANY; PHOENIX
                  ENTERPRISES NORTHWEST LLC (PENW); PHOENIX-ABC A
7                 JOINT VENTURE; ACQUISITION BUSINESS CONSULTANTS;
                  JONETTA EVERANO; JESSICA MORALES; and DOES I–IX,
8
                                      Defendants.
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10         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

11   provide copies to all counsel.

12         DATED this 21st day of October 2020.

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14                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER GRANTING STIPULATED MOTION TO DISMISS DEFENDANTS
     INDIAN EYES, LLC AND ROXIE SCHESCKE UNDER FED. R. CIV. P.
     41(a)(2) – 3
